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 5                            UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF WASHINGTON
 7   UNITED STATES OF AMERICA,                   )
                                                 )     NO.     CR-09-2110-WFN-3
 8                             Plaintiff,        )
                                                 )
 9          -vs-                                 )     ORDER
                                                 )
10   BONNIE DEE VALVERDE,                        )
                                                 )
11                             Defendant.        )
                                                 )
12
13         A motion hearing was held June 1, 2010. The Defendant, who is not in custody, was
14 present and represented by Todd Harms; Assistant United States Attorney Jane Kirk
15 represented the Government. The Court addressed Defendant's Motion to Dismiss (Ct.
16 Rec. 275). The Government did not offer testimony because a jury finding is required as to
17 whether Ms. Valverde withdrew from the conspiracy. Defendant may renew the motion
18 based on the evidence at trial and jury findings.
19         The Court has reviewed the file and Motion and is fully informed. This Order is
20 entered to memorialize and supplement the oral rulings of the Court. Accordingly,
21         IT IS ORDERED that:
22         1. The trial and final pretrial conference of July 19, 2010, are CONFIRMED.
23         2. The pretrial conference and motion hearing of July 6, 2010, at 10:00 a.m., is
24 CONFIRMED.
25         3. Defendant's Motion to Dismiss, filed March 23, 2010, Ct. Rec. 275, is DENIED
26 with the right to renew.


     ORDER - 1
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 1           The District Court Executive is directed to file this Order and provide copies to
 2 counsel.
 3           DATED this 2nd day of June, 2010.
 4
 5                                                   s/ Wm. Fremming Nielsen
                                                        WM. FREMMING NIELSEN
 6   06-01                                       SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER - 2
